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Jane Gordon
JANE GORDON LAW
1004 West Fort Street
Boise, Idaho 83702
Phone: 208-391-4747
Email: Jane@JaneGordonLaw.com

Attorney for Plaintiff

                         UNITED STATES DISTRICT COURT
                                 DISTRICT OF IDAHO

  ROBERT TEMPLIN,
                                                     Case No.
         Plaintiff,
         vs.                                         SUMMONS

  JOSH TEWALT, in his official capacity as the
  Director of the Idaho Department of Corrections;
  TIM RICHARDSON; in his official and his
  individual capacity; RANDY VALLEY, in his
  official and his individual capacity; RONA
  SIEGERT, in her official and her individual
  capacity; MHM SERVICES dba CENTURION
  HEALTH; CENTURION OF IDAHO, LLC;
  JAMIE AYUSO, an individual; CONNIE
  SMOCK, an individual; WILLIAM ROGERS, an
  individual; ASHLEY RINO, an individual;
  JOHNNY WU, an individual; CHRISTINA
  JACKSON, an individual; REX UNDERWOOD,
  an individual; REBECCA BALLARD, an
  individual; KYLE WAGNER, an individual;
  CHANDRA KING, an individual, CHRIS
  JOHNSON, an individual; TERISSA PETERSON,
  an individual; WENDY ORM, an individual;
  CODY NIECKO, an individual; BRIAN CROWL,
  an individual; CRYSTAL WILCOX, an individual;
  STACEY SCROBE, an individual,

         Defendants.


                           SUMMONS IN A CIVIL ACTION

TO:    MHM SERVICES dba CENTURION HEALTH
       CT Corporation System 921 S Orchard St, Boise, Idaho 83705


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       A lawsuit has been filed against you.

       Within 21 days after service of this summons on you (not counting the day you received

it) — or 60 days if you are the United States or a United States agency, or an officer or employee

of the United States described in Fed. R. Civ. P. 12 (a)(2) or (3) — you must serve on the plaintiff

an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil

Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorneys,

               Jane Gordon
               JANE GORDON LAW
               1004 West Fort Street
               Boise, Idaho 83702
               Phone: 208-391-4747
               Email: Jane@JaneGordonLaw.com

       If you fail to respond, judgment by default will be entered against you for the relief

demanded in the complaint. You also must file your answer or motion with the court.


                                                     CLERK OF THE COURT

       DATE: 01/29/2025                              By:
                                                     Deputy Clerk
                                                                                        HaileyStevason
                                                                                    on Jan 29, 2025 9:57 am




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